98 F.3d 1358
    NOTICE: Federal Circuit Local Rule 47.6(b) states that opinions and orders which are designated as not citable as precedent shall not be employed or cited as precedent.  This does not preclude assertion of issues of claim preclusion, issue preclusion, judicial estoppel, law of the case or the like based on a decision of the Court rendered in a nonprecedential opinion or order.ADELAIDE BLOMFIELD MANAGEMENT COMPANY, Appellant,v.Roger W. JOHNSON, General Services Administration, Appellee.
    No. 95-1089.
    United States Court of Appeals, Federal Circuit.
    Oct. 4, 1996.
    
      Darryl L. Thompson, Anchorage, Alaska.
      John K. Lapiana, Commercial Litigation Branch, Civil Division, Department of Justice, Classification Unit, Washington, DC.
      REMANDED.
    
    ORDER
    
      1
      Upon consideration of the parties' joint motion to remand this appeal to the General Services Board of Contract Appeals ("board"),
    
    IT IS ORDERED THAT:
    
      2
      The motion is granted.  This appeal is remanded to the board to allow the parties to complete settlement activities.
    
    